            Case 5:22-cv-00397-JFL Document 30 Filed 02/11/22 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



Linda MIGLIORI, et al,
                    Plaintiffs,
       v.                                                       No. 5:22-cv-00397-JFL

LEHIGH COUNTY BOARD OF ELECTIONS,
              Defendant.



       INTERVENOR ZAC COHEN’S JOINDER IN PLAINTIFFS’ COMPLAINT

       Intervenor Zac Cohen, by and through his undersigned counsel, hereby joins Plaintiffs’

Complaint in its entirety as an Intervenor-Plaintiff.

     1. – 63.   Intervenor Zac Cohen admits the allegations contained in paragraphs 1 through 63

of Plaintiffs’ Complaint and joins in Plaintiffs’ requests for relief.

       WHEREFORE, Intervenor Zac Cohen respectfully requests that the Court enter

judgment in favor of Plaintiffs and award all relief sought by Plaintiffs in their Complaint.


                                               Respectfully submitted,


                                       By:                                     .
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 Dated: February 11, 2022                      Attorney for Zac Cohen
